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                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                 Paul Johnson Drywall, Inc. ; Johnson
                 2013 Irrevocable Trust dated
   Plaintiff(s):                                                          Defendant(s): The Sterling Group, L.P.
                 December 28, 2013 ; RCJ Irrevocable
                 Trust dated April 29, 2010
   County of Residence: Maricopa                                         County of Residence: Outside the State of Arizona
   County Where Claim For Relief Arose: Maricopa


   Plaintiff's Atty(s):                                                  Defendant's Atty(s):
   R. Douglas Dalton                                                     Robert H. McKirgan
   Osborn Maledon, P.A.                                                  Lewis Roca Rothgerber Christie LLP
   2929 North Central Avenue, 21st Floor                                 201 East Washington Street, Suite 1200
   Phoenix, Arizona 85012-2793                                           Phoenix, Arizona 85004
   602-640-9000                                                          602-262-5396


   William D. Furnish
   Osborn Maledon, P.A.
   2929 North Central Avenue, 21st Floor
   Phoenix, Arizona 85012-2793
   602-640-9000


   Bryce Talbot
   Osborn Maledon, P.A.
   2929 North Central Avenue, 21st Floor
   Phoenix, Arizona 85012-2793
   602-640-9000



  REMOVAL FROM MARICOPA COUNTY, CASE #CV2021-011077

  II. Basis of Jurisdiction:                    4. Diversity (complete item III)

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
                            Plaintiff:- 4 AZ corp or Principal place of Bus. in AZ
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                                                https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl

                             Defendant:- 2 Citizen of Another State

  IV. Origin :                                  1. Original Proceeding

  V. Nature of Suit:                            190 Other Contract

  VI.Cause of Action:                           USC Secs. 1322 and 1441; Trade secrets

  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand: in excess of $300,000
                     Jury Demand: No

  VIII. This case is not related to another case.

  Signature: Robert H. McKirgan

         Date: 08/13/2021
  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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